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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X        Docket No. 18-cv-06967
                                                                                        (VSB)
LUIS ARIMONT,

                                            Plaintiff,                      FIRST MOTION
                                                                       TO REOPEN AND RESTORE
                          -against-                                      CASE PURSUANT TO
                                                                           FRCP RULE 60(B)

FOUR SUNS FUEL OIL COMPANY, ANGELO
BACARELLA, In His Individual and Official
Capacities, ANTHONY BACARELLA, In His
Individual and Official Capacities and PATRICIA
FARRELL, In Her Individual and Official Capacities,

                                              Defendants.
---------------------------------------------------------------X

PARTIES:

        PLEASE TAKE NOTICE that upon the attached Declaration of Gregory Calliste, Jr. in

Support of Plaintiff’s Motion to reopen and restore this matter to the Court’s Docket pursuant to

FRCP Rule 60(B), along with any and all related Exhibits A-G, Plaintiff will move this Court

before Honorable Vernon S. Broderick, United States Courthouse, Thurgood Marshall

United States Courthouse, 40 Foley Square, New York, NY 10007, at a date/time to be

determined by the Court or as soon thereafter as counsel may be heard, for an order

pursuant to Rule 60 of the Federal Rules of Civil Procedure: [1] reopening this Case and

restoring same to the Court’s calendar/docket; [2] granting all costs/fees to Plaintiff for all

actions taken to enforce settlement and/or to restore this matter following the Court’s order of

January 15, 2020 wherein this matter was discontinued following a report of settlement and [3]

for any further relief deemed just in light of the allegations asserted herein.




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DATED: New York, New York
       May 22, 2020

                                               Respectfully Submitted,


                                               PHILLIPS & ASSOCIATES,
                                               Attorneys at Law, PLLC
                                         By:   _________ /S/_______________
                                               Gregory Calliste, Jr. &
                                               Yusha Hiraman
                                               Attorneys for Plaintiff Luis Arimont
                                               45 Broadway, Suite 620
                                               New York, New York 10006
                                               T: (212) 248 – 7431
                                               F: (212) 901 – 2107
                                               gcalliste@tpglaws.com
                                               yhiraman@tpglaws.com




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